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                                      EXHIBIT A

                                Originating       Originating      SDWV – MDL
         Plaintiffs              District          Case No.       Member Case No.
Theresa Borders              Texas Northern       3:13-cv-03201    2:13-cv-22259
Paula Meyers
Cynthia Wasson
Amy Hoerig
Eva Sink
Shelly Smith
Patricia Anne Buckberg
Lisa Hammond
Marjorie Miller

Nancy Savage-Guptill         Texas Northern       4:13-cv-00665    2:13-cv-22291
Georgette Makhnouf
Patricia Smith

Donna Cook                   Tennessee Eastern    4:12-cv-00050    2:12-cv-07113
Ethel Lee

Karen Bollinger              Wisconsin Eastern    2:12-cv-00279    2:12-cv-01215
Jean Fisher
Angela Gambill
Leora Keller
Lynn Martin
Jova Sanchez

Sondra Mills                 West Virginia        5:12-cv-00175    2:13-cv-01218
Diealma Duty                 Northern

Carolyn Lewis                Texas Northern       3:12-cv-02516    2:12-cv-04301
Kenneth Lewis
Augustina Brown-Singletary
and Andre Singletary-Smith
Karin Harrison and Robert
Harrison
Patricia Headrick and
Darrell Headrick
Katie Uszler and Nick
Uszler
Kelly Young and Kenneth
Young
